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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION

    NICOLE LOVE,
    Individually and on
    behalf of all others similarly situated,
                                                             Case No. 3:19-cv-00296-BJB-RSE
                         Plaintiff,

            v.
                                                            COLLECTIVE ACTION PURSUANT
    GANNETT CO. INC., GANNETT                               TO 29 U.S.C. § 216(B)
    SATELLITE INFORMATION NETWORK,
    LLC, and GCOE, LLC

                         Defendants.


                    [PROPOSED] ORDER APPROVING SETTLEMENT AND
                        DISMISSAL OF LAWSUIT WITH PREJUDICE

           After a review of the Plaintiff’s Unopposed Motion for Approval of Settlement, the

   Declarations of Plaintiffs’ Counsel, and the Settlement Agreement, along with all exhibits thereto, the

   Court is satisfied that the settlement reached is a “fair and reasonable resolution of a bona fide dispute”

   under the Fair Labor Standards Act. See, e.g., Dillworth et. al. v. Case Farms Processing, Inc., No. 5:08-cv-

   1694, 2010 WL 776933, at *9 (N.D. Ohio Mar. 8, 2010); see also Lynn’s Food Stores, Inc. v. United States,

   679 F.2d 1350 (11th Cir. 1982); 29 U.S.C. § 216.

           ACCORDINGLY, it is hereby ORDERED AND ADJUDGED as follows:

           1.      The Settlement Agreement between Named Plaintiff Nicole Love (“Named Plaintiff

   Love”), on one hand, and Defendants Gannett Co., Inc., Gannett Satellite Information Network, LC,

   and GCOE, LLC (“Defendants”), on the other, is APPROVED.

           2.      The Court hereby DISMISSES THIS ACTION WITH PREJUDICE.
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          3.      Without affecting the finality of this Order in any way, the Court retains continuing

   and exclusive jurisdiction over this action for the purpose of the administration and enforcement of

   the Settlement Agreement.



   Dated: _________________, 2021

                                                      BENJAMIN BEATON
                                                      United States District Judge




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